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RageD #:226

 

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FOR THE ; ao™

eee CENTRAL. DISTRICT, OF CALIFORNIA oo. ot

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United States of America

cr77~1047(A)-raKXF IL ED

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JOSE GUADALUPE | .
, , JAN29 on
a —— : CLERK, U. S. DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
On this 19th day of | December 1977 caméthe attor ney for (he DEPUTY

government and the defendant appeared in person and' by counsel , William Dougherty,.
retained. :

Ir Ts ADJUDGED that the defendant upon his plea ofinot guilty and a verdict of

guilty

has been convicted of the offense of conspiracy to possess with the intent to ;
distribute and to distribute a Narcotic Drug Controlled Substance; possession
of a Narcotic Drug Controlled Substance with the intent to distribute;

aiding and abetting; continuing criminal enterprise, in violation of
Title 21, United States Code, Sections 846, 841 (a) (1) & 848; and 18, United
States Code, Section 2(a), as charged in the superseding indictment

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and the ecéurt having asked the defendant whether he has anything to say why judgment should not
be pronounced, and no sufficient cause to the contrary being shown or appearing to the Court,

Ir Is ADJUDGED that the defendant is guilty as charged and convicted,

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bissunbhonizerk representative comin pismmmontxian xaopE oR x

IT IS ADJUDGED, as to counts 1, 2, 3 and 4, that the defendant be
committed to the custody of the Attorney General or his authorized
representative for imprisonment for a period of Fifteen Years.

IT IS ADJUDGED, as to counts 5, 6, 7 and &, that the defendant be
committed to the custody of the Attorney General or his authorized
representative for imprisonment for a period of Fifteen Years.

IT IS ADJUDGED, as to count 9, that the defendant be committed to the

Exdsxtneracuomtimtx custody of the Attorney General or his authorized
representative for imprisonment for the natural life of the.defendant.

IT IS ORDERED that a special parole term of Ten’ Years be added to the
sentence in addition to the term of imprisonment.

IT IS ORDERED that the-sentences imposed on counts: 1, 2, 3 and 4
run consecutively. As

If IS ORDERED that the sentences imposed on Semnts 5, &, gy and 8
run consecutively.

IT IS FURTHER ORDERED that the sentence imposed on count 9 commence and
run concurrently with the sentences imposed on each of counts 1, 2, 3, 4,

5 so.@aand. 8. < ‘ ;

f % Is OKDERED that the Clerk deliver a certified copy of this judgment and commilment to the
United States Marshal-or other qualified officer and that the copy-serve-as-the- commitment of the
defendant.

FILED: DECEMBER 19, 1977. he 8 On. (py ‘(eo 0200 Ye. to
EDWARD M. KRITZMAN, CLERK Univell! States District Judge.

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» by Acoal ft 6, Deput Clerk.

Vusert “by [name of counsel], counrel” or without counsfl; i court advised the defendant of his richts

te eouncel and asked him whether de desired te dive equiasel App Ht Poly the vourt, and the defendant Bali thon
stated tbat he waived the vieht to th © asdistanee of vounsel.( fu ert OL) “aiilty and the eourt twang antlatios!
there dsm factual basis for the plea,” C21 “not Hully. amd a verdict of guilty G3) “not guilty, anda finding of
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Case 2:77-cr-01047-Gae "BO EUTE ATS: Firaor/ Sos ” Page 2 of 3. Page ID #:227

CERTIFICATE

I hereby attest and certify this data that the foregoing document
is a full and correct copy of the original on file in my office,

and in my legal custody.

DATED: wd

 

 

RETURN
I have executed the within Judgment and Commitment as follows:
Defendant delivered on /~ ¥> 7 & te KC) fSAy ago hao

Defendant notad notice of appeal on

 

Defendant released on

 

Cefendent's appeal determined on

 

 

Defendant delivered on J-(0 -7E to: (rr
at dhe hie. Lhd KL - , the institution

 

desionated by the Attorney General, with a certified capy of the

within Judement and Commitment. ,
four O- Lt hdescusd
United States Marshal

DATED: By

  
 
Case’ Damaer Ob O4R IE DOBUHTE AT SS Fier on 20/78 ” Page 3 of 8. RagedaD #:228
United States Bistrirt Court

FOR THE

United States of America
v. Noe. CR77-1047(A)-RJK
JOSE GUADALUPE VALENZUELA

On this 19th day of December ,1977 came the attorney for the
government and the defendant appeared in person and'by counsel, William Dougherty,
retained. :

IT Is ADJUDGED that the defendant upon his plea oftnot guilty and a verdict of
guilty
has been convicted of the offense of conspiracy to possess with the intent to
distribute and to distribute a Narcotic Drug Controlled Substance; possession |
of a Narcotic Drug Controlled Substance with the intent to distribute;
aiding and abetting; continuing criminal enterprise, in violation of
Title 21, United States Code, Sections 846, 841(a)(1) & 848; and 18, United
States Code, Section 2(a), as charged in the superseding indictment

and the court having asked the defendant whether he has anything to say why judgment should not
be pronounced, and no sufficient cause to the contrary being shown or appearing to the Court,

IT Is ADJUDGED that the defendant is guilty as charged and convicted.

IT IS ADJUDGED, as to counts 1, 2, 3 and 4, that the defendant be
committed to the custody of the Attorney General or his authorized
representative for imprisonment for a period of Fifteen Years.

IT IS ADJUDGED, as to counts 5, 6, 7 and 8, that the defendant be
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IT IS ADJUDGED, as to count 9, that the defendant be committed to the

IxisxsieRenoxthatix custody of the Attorney General or his authorized
representative for imprisonment for the natural life of the defendant.

IT IS ORDERED that a special parole term of Ten Years be added to the
sentence in addition to the term of imprisonment.

IT IS ORDERED that the sentences imposed on counts 1, 2, 3 and 4
run consecutively.

IT IS ORDERED that the sentences imposed on counts 5, 6, 7 and 8

run consecutively.
IT IS FURTHER ORDERED that the sentence imposed on count 9 commence and
run concurrently with the sentences imposed on each of counts 1, 2, 3, 4,

5 eek ds ;
» Bors/oR FES that the Clerk deliver a certified copy of this judgment and commitment to the
United States Marshal or other qualified officer and that the copy serve as the commitment of the

 

defendant.

We . / lop } ) }
FILED: DECEMBER 19, 1977. a. Moats (h EK eh
EDWARD M. ROTI ZMAN . CLERS , Unite States District Judge.

  

by /Joseph/ Levario, Deputy Clerk.

Nnsert “by [name of counsel], counsel” or without counsél; fhe court advised the defendant of his rights
to counsel and asked him whether he desired to have counsel ppointed by the court, and the defendant therounon
stated that he waived the right to the assistance of counsel.” =—[nsert (1) “ruilty and the eourt being satished

    
 

there is a factual basis for the plea,” (2) “not uilty, and a verdict of guilty’’ (3) “no I i i q
guilty,” or (4) “nolo contenders," as the case 1ay he. 4Ingert “in ApteLtey aniaher o eueet Oe ‘s ft ice
‘Enter (1) sentence or sentences, specifying counts if any; (2) whether sentenves are to run concurrently De BENG
secutively and, if consecutively, when each term is to beein with reference to termination of preceding term ar to
uny other outstanding unserved genteneo: (2) whether defendant is to he further imprisoned until payment mre
the fine or fine and vozts, or until he is otherwise discharged as pr ed by Jaw. “Enter any order with eek 73

suspension and probation. “For use of Court to recommend a particular institution.

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